
379 Pa. 309 (1954)
McCormick Coal Company, Inc., Appellant,
v.
Schubert.
Supreme Court of Pennsylvania.
Argued October 1, 1954.
November 8, 1954.
Before STERN, C.J., STEARNE, JONES, CHIDSEY, MUSMANNO and ARNOLD, JJ.
*313 Carmen V. Marinaro, for appellant.
J.C. Brandon, with him Brandon, Millar, Rockenstein &amp; MacFarlane, for appellee.
OPINION PER CURIAM, November 8, 1954:
The judgment of the court below is affirmed on the opinion of Judge GRAFF, specially presiding.
